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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

UNITED STATES OF AMERICA

               v.                                    Case No. 1:23-mj-107

XUAN-KHA TRAN PHAM,

               Defendant.


AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT AND ARREST WARRANT

       I, Nicole Miller, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and have

been so employed since 2019. As such, I am an “investigative or law enforcement officer of the

United States” within the meaning of 18 U.S.C. § 2510(7)—that is, an officer of the United

States empowered by law to conduct investigations of and to make arrests for, among others,

offenses enumerated in 18 U.S.C. § 111.

       2.      Before joining the FBI, I served as a Special Agent with the Florida Department

of Law Enforcement from 2016–2019 and a police officer with the Kissimmee Police

Department from 2010–2016. During that time, I investigated kidnappings, homicides, bank

robberies, felon-in-possession violations, domestic terrorism, and threats. In so doing, I prepared

and submitted applications for court orders and search warrants; conducted physical and

electronic surveillance; executed search and arrest warrants; debriefed informants; and

interviewed witnesses and suspects.
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       3.      I submit this affidavit in support of a criminal complaint and arrest warrant

charging XUAN-KHA TRAN PHAM with forcible assault of a person designated in 18 U.S.C.

§ 1114 (specifically, an employee of the United States) while engaged in the performance of

official duties, which assault inflicted bodily injury, in violation of 18 U.S.C. § 111(a)(1), (b).

       4.        The facts and information contained in this affidavit are based upon my personal

knowledge of the investigation and information obtained from other local and federal law

enforcement officers. All observations not personally made by me were relayed to me by the

individuals who made them or are based on my review of reports, documents, and other physical

evidence obtained during the course of this investigation. Unless otherwise indicated, where the

statements of others are related herein, they are related in sum and substance and not verbatim.

       5.      This affidavit contains information necessary to support probable cause and has

been prepared only for the purpose of obtaining a criminal complaint and arrest warrant.

Therefore, it contains neither all of the information known to me concerning the offense nor

every fact learned by the government during the course of its investigation thus far.

                   FACTUAL BASIS SUPPORTING PROBABLE CAUSE

       6.      On May 15, 2023, at approximately 10:49 a.m., the City of Fairfax Police

Department was notified that an assault was occurring at the District Office of Congressman

Gerald E. “Gerry” Connolly, located at 10680 Main Street, Suite 140, Fairfax, Virginia.

Responding officers observed a male subject, later identified as XUAN-KHA TRAN PHAM, in

the front area of the office. After restraining him, the officers placed PHAM under arrest and

charged him with malicious wounding.

       7.      A short time earlier, towards the front of the District Office, Victim 1, a member

of Congressman Connolly’s staff and an employee of the United States performing her official

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duties, was showing Victim 2, a new intern, how to complete certain administrative tasks.

Suddenly, the front door swung open and PHAM, wielding a baseball bat, charged through it.

Using the bat, PHAM struck Victim 1 on the head, causing her to fall to the floor. As PHAM

continued to strike Victim 1, Victim 2 tried to flee towards the back office. At that point, PHAM

struck Victim 2 in the ribs with the bat. He then returned to hitting Victim 1, saying, “I’m going

to kill you” and “you’re going to die.” Victim 1 estimated that PHAM struck her a total of

approximately eight times.

       8.      Eventually, another individual, Witness 1, who was across the hall, entered the

District Office, causing PHAM to turn and look. This allowed Victim 1 to escape and run

towards the back office. At one point thereafter, Victim 1 heard PHAM yell, “Gerry,” as he

destroyed items in the office with his bat. Witness 1 heard PHAM say that he wanted “to talk to

Connolly,” and observed PHAM hit himself in the head with his hand.

       9.      At the time of the incident, two additional staff members were present, Witness 2

and Witness 3. After she escaped, Victim 1 ran into an office where Witness 2 and Witness 3

were. Witness 2 and Witness 3 observed Victim 1 bleeding from her head.

       10.     As part of my investigation, I learned that PHAM called the District Office

approximately three times in February 2023. A recipient of one of the calls described PHAM as

speaking “gibberish about DNA and God.”

                                        CONCLUSION

       11.     Based on the foregoing, I submit there is probable cause to believe that on or

about May 15, 2023, in Fairfax, Virginia, within the Eastern District of Virginia, the defendant,

XUAN-KHA TRAN PHAM, forcibly assaulted an employee of the United States engaged in the



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